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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

FLORIDA DEFENDERS OF THE
ENVIRONMENT, a Florida not-for-profit
Corporation, BRUCE KASTER, and
JOSEPH LITTLE,

        Plaintiffs,

v.                                                          Case No: 3:17-cv-1128-HES-JBT

UNITED STATES FOREST SERVICE,

        Defendant.
                                              /

     PLAINTIFFS’ UNOPPOSED MOTION FOR TELEPHONIC CASE MANAGEMENT
                              CONFERENCE

        Plaintiffs, FLORIDA DEFENDERS OF THE ENVIRONMENT, BRUCE KASTER,

JOSEPH LITTLE (“Plaintiffs”) hereby respectfully request a telephonic case management

conference and state the following:

        1.      On October 23, 2018, Federal Defendant’s Reply in Support of Federal

Defendant’s Motion to Dismiss and Response to Plaintiffs’ Motion to Strike was filed. (Doc. 30)

        2.      April 23, 2019, one-hundred, eighty-days (180) after the filing of Federal

Defendant’s Reply in Support of Federal Defendant’s Motion to Dismiss and Response to

Plaintiffs’ Motion to Strike, undersigned filed a Notice to the Court stating Federal Defendant’s

Motion to Dismiss has been filed (Doc. 31).

        3.      On June 18, 2019, over thirty (30) days after the aforementioned notice was filed,

a second Notice to the Court to bring the Court’s attention the pending dispositive Motion to

Dismiss together with the pending Motion to Strike remain undecided. (Doc. 32)
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       4.     Counsel for Plaintiffs conferred with counsel for Federal Defendant regarding this

motion. Counsel for Federal Defendant does not oppose this motion.


       WHEREFORE, Plaintiffs respectfully request this Court to conduct a telephonic case

management conference to discuss the above-described pending motions.


                                                          Respectfully submitted,

                                                          JANE WEST LAW, P.L.


                                                                               _______
                                                          JANE WEST
                                                          Florida Bar No.: 159417
                                                          Jane West Law, P.L.
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                                                          St. Augustine, FL 32084
                                                          (904) 471-0505
                                                          jane@janewestlaw.com
                                                          Attorney for Plaintiffs

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing has been electronically filed with the United
States District Court, Middle District of Florida, Jacksonville Division and a copy has been
furnished by electronic mail to Hayley A. Carpenter, Esquire, P.O. Box 7611, Washington, DC
20044-7611, hayley.carpenter@usdoj.gov, on this 12th day of August, 2019.




                                                              JANE WEST
